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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA,                                                23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

       In connection with the briefing on the government's proposed motion to disqualify Mr.
Lustberg and Gibbons, P.C. from acting as counsel on this matter, the parties are directed to
address separately the disqualification of Mr. Lustberg and the disqualification of Gibbons.


Dated: New York, New York
       April 17, 2024
